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AO 442 (REV. 12/85)


                                                United States District Court                                                FILED

                                                       Western District of Texas                                          Oct 7 2019

                                                          El Paso Division                                         Clerk, U.S. District Court
                                                                                                                   Western District of Texas


                                                                                                             By:

                                                                                                                                       Deputy
USA                                                                      §
                                                                         § CRIMINAL COMPLAINT
vs.                                                                      § CASE NUMBER: EP:19-M -08783(1) RFC
                                                                         §
(1) LINO CASTRO-PERALES                                                  §

                  I, the undersigned complainant being duly sworn state the following is true and correct to the best of my knowledge and

belief. On or about October 06, 2019 in Hudspeth county, in the WESTERN DISTRICT OF TEXAS defendant did, being an alien to

the United States, enter, attempt to enter, or was found in the United States after having been previously excluded, deported, or

removed from the United States without receiving permission to reapply for admission to the United States from the Attorney General

of the United States and the Secretary of Homeland Security, the successor pursuant to Title 6, United States Code, Sections 202(3),

202(4), and 557



in violation of Title                  8                  United States Code, Section(s)         1326



                  I further state that I am a(n) BORDER PATROL AGENT and that this complaint is based on the following facts: " The

DEFENDANT, Lino CASTRO-Perales, an alien to the United States and a citizen of Mexico was found attempting to conceal

himself under a mesquite bush near I-10 approximately 6.6 miles west of the Fort Hancock Port of Entry in Fort "

Continued on the attached sheet and made a part of hereof.



Sworn to before me and subscribed in my presence,
                                                                                           Signature of Complainant
                                                                                           MALDONADO, CHRISTIAN
                                                                                           BORDER PATROL AGENT

October 7, 2019                                                                      at EL PASO, Texas
File Date                                                                               City and State




ROBERT F. CASTANEDA                                                                        ______________________________
UNITED STATES MAGISTRATE JUDGE                                                             Signature of Judicial Officer
                                                                                                     OATH TELEPHONICALLY SWORN
                                                                                                     AT 1:01 P.M.
                                                                                                     FED.R.CRIM.P.4.1(b)(2)(A)
                 Case 3:19-mj-08783-RFC Document 1 Filed 10/07/19 Page 2 of 2
CONTINUATION OF CRIMINAL COMPLAINT - EP:19-M -08783(1)

WESTERN DISTRICT OF TEXAS

(1) LINO CASTRO-PERALES

FACTS (CONTINUED)

Hancock, Texas in the Western District of Texas. From statements made by the DEFENDANT to the arresting
agent, DEFENDANT was determined to be a native and citizen of Mexico, without immigration documents
allowing him to be or remain in the United States legally. Defendant has been previously removed from the
United States to Mexico on August 29, 2019 through Laredo, Tx. Defendant has not previously received the
expressed consent from the Attorney General of the United States or the Secretary of Homeland Security to
reapply for admission into the United States.



Because this affidavit is being submitted for the limited purpose of establishing probable cause as set forth
herein, I have not included each and every fact known to me concerning this investigation.


IMMIGRATION HISTORY:

The DEFENDANT has been removed once, the last one being to MEXICO on August 29, 2019, through LAREDO,
TX

CRIMINAL HISTORY:

05/27/2018, Weatherford, TX, Fraud Use/ Poss Identifying Info(F), CNV, 6 Mon. Confinement.
05/27/2018, Weatherford, TX, Poss CS PG 1 & It; 1G(F), CNV, 6 Mon. Confinement.
05/27/2018, Weatherford, TX, DWI(M), CNV, 90 Days Confinement.
09/11/2018, Parker County, TX, Burgalry of Habitation(F), CNV, 2 Years Confinement.
09/12/2018, Parker County, TX, Stalking(F), DRP, Prosecutor has rejected the charge.
